                                    COURT OF APPEALS
                                 EIGHTH DISTRICT OF TEXAS
                                      EL PASO, TEXAS

 Ali Tabrizi and Dona Tabrizi,                 '
                                                               No. 08-16-00209-CV
                            Appellants,        '
 v.                                                               Appeal from the
                                               '
 City Of Austin; Greg Guernsey, in his                           53rd District Court
 Official Capacity as Director of Planning     '
 and Zoning Department, et al.,                               of Travis County, Texas
                                               '
                           Appellees.           '           (TC# D-1-GN-15-002968)



                                             ORDER

       Pending before the Court is Appellants’ unopposed motion to stay the appeal while

Appellants pursue a vested rights petition under Chapter 245 of the Local Government Code.

The motion is GRANTED. Although Appellants have not expressly requested abatement of the

appeal, we conclude it is appropriate under the circumstances. The appeal, including all

appellate deadlines, are stayed pending resolution of the Chapter 245 petition or further order of

the Court. Appellants are directed to file a motion to reinstate the appeal when the Chapter 245

proceedings have concluded.

       IT IS SO ORDERED this 26th day of September, 2016.



                                                    PER CURIAM

Before McClure, C.J., Rodriguez and Hughes, JJ.
